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                                                                        FILED
                                                                         JAN 0 6 2017
               IN THE UNITED STATES DISTRICT COURT                    Clerk, U.S. District Court
                                                                         District Of Montana
                                                                                Helena
                    FOR THE DISTRICT OF MONTANA

                               BUTTE DIVISION

GINA JAEGER, individually, AND
AS PERSONAL REPRESENTATIVE
OF THE ESTATE OF HER SISTER                     No. CV 16-30-BU-SEH
CHARLENE HILL,

                          Plaintiff,            ORDER

vs.

WILLIAM POWELL, DANA
WADDELL, AMBER DAYHUFF,
PEAK MEDICAL MONTANA
OPERATIONS, LLC AND GENESIS
HEALTHCARE, INC.,

                         Defendants.

      On January 6, 2017, the Court held a hearing on Plaintiffs Motion to


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Remand Under 28 USC 1447(e). Based upon the record made in open court,

         ORDERED:

         1.       Plaintiffs Motion to Remand Under 28 USC 1447(e) 1 is DENIED.

         2.      Defendants William Powell, Dana Waddell, and Amber Dayhuff are

DISMISSED without prejudice. The caption is amended to reflect dismissal of the

three individual Defendants.

         DATED this        "'- day of January, 2017.
                          t'/


                                                United States District Judge




     1
         Doc. 35.

                                          -2-
